        Case 1:18-cv-02315-LMM Document 5 Filed 05/31/18 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                         x
                                         :              Civil Action No.
Stephanie Roudaut,                       :           1:18-CV-02315-LMM
                                         :
                          Plaintiff,     :
                                         :
      vs.
                                         :
Detroit Trading Services, LLC,           :
                                         :
                          Defendant.     :
                                         x

     NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      Stephanie Roudaut, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, voluntarily dismisses this action without prejudice.

      Date: May 31, 2018               /s/ Shireen Hormozdi
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                                       Counsel for Plaintiff


                                         1
         Case 1:18-cv-02315-LMM Document 5 Filed 05/31/18 Page 2 of 2




                         Local Rule 7.1D Certification

      The undersigned counsel certifies that the foregoing was prepared using Times

New Roman 14 point, a font and point selection approved by LR 5.1B.


                                                /s/ Shireen Hormozdi
                                                Shireen Hormozdi

                              Certificate of Service

      I HEREBY CERTIFY that a copy of the foregoing has been electronically filed

on May 31, 2018, via the Court Clerk’s CM/ECF system, which will provide notice to

all counsel of record.


                                            /s/ Shireen Hormozdi
                                            Shireen Hormozdi




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